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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID J. CATANZARO, Civil Case No, 3:22-CV-01754-
: JFS-DFB
Plaintiff (Judge Joseph F. Saporito Jr.)
(Referred to Judge Phillip J.
v. : Caraballo)

LYKART TECHNOLOGIES LLC,
ET AL,

Defendants,

‘ORDER
AND NOW, this _ 9th day of _ June ', 2025,

upon consideration of the Unopposed Motion for Leave to Withdraw as Counsel
filed by Google LLC and YouTube LLC, the Court finds good cause for the entry
of this Order and GRANTS the Motion. Shaida Shahinfar is withdrawn as counsel
for Google LLC and YouTube LLC.

IT IS SO ORDERED.

BY THE COURT:

, apes — _
LP ailip J. Caraballo
Magistrate Judge

